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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




JAMES O. STRUTHERS, etc.,            )
                                     )
    Plaintiff,                       )
                                     )       CIVIL ACTION NO.
    v.                               )        2:06cv127-MHT
                                     )             (WO)
MERCK & CO., INC., a                 )
foreign Corporation,                 )
et al.,                              )
                                     )
    Defendants.                      )

                                   ORDER

    The   allegations         of    the    notice    of    removal       are

insufficient to invoke this court's removal jurisdiction

under 28 U.S.C. §§ 1332 (diversity of citizenship) 1441

(removal).     To   invoke         removal   jurisdiction       based     on

diversity, the notice of removal must distinctly and

affirmatively allege each party's citizenship.                   McGovern

v. American Airlines, Inc., 511 F. 2d 653, 654 (5th Cir.

1975) (per curiam).       The allegations must show that the

citizenship of each plaintiff is different from that of

each defendant.     28 U.S.C. § 1332; see also 2 James Wm.
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Moore, et al., Moore's Federal Practice ¶ 8.03[5][b] at

8-10 (3d ed. 1998).

    Plaintiff has brought this lawsuit in his capacity as

personal representative for the estate of the decedent.

"[T]he legal representative of the estate of a decedent

shall be deemed to be a citizen only of the same State as

the decedent ...." 28 U.S.C. § 1332(c)(2).                 Because the

notice of removal sets forth only the citizenship of the

personal representative and not of the decedent, the

notice does not adequately establish grounds for this

court to assume removal jurisdiction of this matter.

    It is therefore the ORDER, JUDGMENT, and DECREE of

the court that the defendants have until February 24,

2006,     to   amend    the    notice      of    removal       to   allege

jurisdiction     sufficiently,       see        28   U.S.C.     §    1653;

otherwise this lawsuit shall be remanded to state court.

    DONE, this the 14th day of February, 2006.




                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
